Case 4:20-cv-00435-SDJ-KPJ Document 17 Filed 09/09/20 Page 1 of 2 PageID #: 63




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  FAKRI ABDEL-MALAK,                              §
      on behalf of himself, Plaintiff,            §
                                                  §
                                                  §
                                                  §
  v.                                                    Case No. 4:20-cv-00435-SDJ-KPJ
                                                  §
                                                        Jury
                                                  §
  PHIL SMITH, PLLC,                               §
  d/b/a, SMITH & SMITH LAW FIRM,                  §
  domestic limited liability company              §
  (LLC), and PHIL SMITH,                          §
         Defendants.                              §

                         DEFENDANTS’ NOTICE OF SETTLEMENT

        Defendants Phil Smith, PLLC and Phil Smith would show the following:

        1.      On Friday, September 4, 2020, at 12:36 p.m., Mr. Fakri Abdel-Malak, Plaintiff pro

se, transmitted an email to the undersigned counsel accepting Defendants’ offer of settlement.

        2.      The Parties are currently working on dismissal papers.

        3.      Defendants ask that all deadlines set forth on page one of the Order Governing

Proceedings (Dkt. #16) be abated, and that the Parties be given thirty days to complete and file the

appropriate dismissal papers.

Dated: September 9, 2020

                                              Respectfully submitted,

                                                             /s/
                                              By: __________________________________
                                                     Wade A. Forsman
                                                     State Bar No. 07264257
                                                     P.O. Box 918
                                                     Sulphur Springs, TX 75483-0918
                                                     903.689.4144 Telephone-East Texas
                                                     972.499.4004 Telephone–Dallas/Fort Worth
Defendants’ Notice of Settlement                                                              Page 1
Case 4:20-cv-00435-SDJ-KPJ Document 17 Filed 09/09/20 Page 2 of 2 PageID #: 64




                                                      903.689.7001 Facsimile
                                                      wade@forsmanlaw.com

                                               Attorney for Defendants Phil Smith, PLLC and
                                               Phil Smith


                                       Certificate of Service

        I certify that on Wednesday, September 9, 2020, I electronically submitted the foregoing
document with the clerk of court for the U.S. District Court, Eastern District of Texas, using the
electronic case filing system of the court. I hereby certify that I have served all counsel and/or pro
se parties of record electronically or by another manner authorized by Federal Rule of Civil
Procedure 5(b)(2).
                                                                /s/
                                                       ________________________________
                                                       Wade A. Forsman




Defendants’ Notice of Settlement                                                               Page 2
